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  We have deliberately taken some of our webpages offline in order to comply with Executive Orders and OSD Policy
  [https://media.defense.gov/2025/Feb/27/2003652943/-1/-1/1/DIGITAL-CONTENT-REFRESH.PDF]. The intent is to preserve our




                            DoDEA Students Lead Nation in
                            NAEP Performance, Again
                            Showcasing the Strength of 21st
                            Century Education Model
                            By Michael ODay     February 3, 2025




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                          The Department of Defense Education Activity (DoDEA) continues to set the
                          benchmark for student achievement, with fourth and eighth-grade students again
                          leading the nation in the 2024 National Assessment of Educational Progress
                          (NAEP) Reading and Mathematics Assessments. These results highlight the
                          effectiveness of DoDEA’s commitment to rigorous academics, innovative learning
                          environments, and a 21st-century education model designed to equip military-
                          connected students with the skills needed for future success.


                          DoDEA students’ average scale scores ranged from 14 to 25 points higher than
                          their national counterparts, maintaining or improving their performance while
                          national scores largely declined. The consistency of these results underscores
                          the stability and excellence of DoDEA schools, which serve the children of
                          military personnel stationed around the globe.


                          “The continued success of DoDEA students on the NAEP assessments reflects
                          the hard work of our educators, the dedication of our students, and the
                          unwavering support of military families,” said Dr. Judith Minor, DoDEA Americas
                          Director for Student Excellence. “Our commitment to academic excellence and
                          innovation ensures that every military-connected child receives the quality
                          education they deserve.”

                          The exceptional performance of DoDEA students carries significant weight for
                          military families. Frequent relocations, deployments, and the unique demands of
                          military life create educational challenges for children of service members.
                          DoDEA’s unwavering dedication to continuity in education ensures these
                          students receive top-tier academic instruction regardless of location.


                          A key driver of DoDEA’s success is its investment in a modernized 21st-century
                          education model, emphasizing digital-based assessments, personalized learning
                          experiences, and cutting-edge instructional strategies. These innovations have
                          helped sustain high academic achievement levels, particularly in math and
                          reading, where DoDEA students significantly outperform their national peers.


                          In fourth-grade reading, DoDEA students posted an average score of 234,
                          outperforming the national public-school average of 214. Similarly, in eighth-grade
                          reading, DoDEA students scored 282 compared to the national average of 257.
                          Mathematics results followed the same trend, with fourth-graders scoring 251
                          (national average: 237) and eighth-graders scoring 291 (national average: 272).


                          These gains are particularly noteworthy given the broader national trend of

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                          declining scores in recent years. The contrast further underscores the
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                          effectiveness of DoDEA’s educational approach.
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                          Beyond academic performance, DoDEA schools prioritize critical thinking,
                          collaboration, and problem-solving skills—essential for success in higher

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                          education and future careers. By integrating technology into daily instruction,
                          fostering student-centered learning, and employing highly qualified educators,
                          DoDEA ensures its students can handle the challenges of an evolving world.


                          DoDEA operates as a field activity of the Office of the Secretary of Defense. It is
                          responsible for planning, directing, coordinating, and managing pre-kindergarten
                          through 12th-grade educational programs for the Department of Defense. DoDEA
                          operates 160 accredited schools in 8 districts in 11 foreign countries, seven
                          states, Guam, and Puerto Rico. DoDEA Americas operates 50 accredited schools
                          across two districts, located on 16 military installations, including Army, Navy,
                          Marine Corps, Air Force, and Coast Guard bases in seven states, Puerto Rico, and
                          Cuba. Committed to excellence in education, DoDEA fosters well-rounded,
                          lifelong learners, equipping them to succeed in a dynamic world.


                          For addition inform please visit https://www.dodea.edu/news/press-
                          releases/dod-schools-ranked-best-united-states-again-nations-report-card


                          Attribution Note: DoD Schools Ranked Best in the United States Again on Nation’s
                          Report Card




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